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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UMG RECORDINGS, INC.; CAPITOL
RECORDS, LLC; SONY MUSIC
ENTERTAINMENT; ATLANTIC RECORDING
CORPORATION; ATLANTIC RECORDS
GROUP LLC; RHINO ENTERTAINMENT LLC;
THE ALL BLACKS U.S.A. INC.; WARNER
MUSIC INTERNATIONAL SERVICES
LIMITED; and WARNER RECORDS INC.,

Plaintiffs,

Vv. Civil Action No. 1:24-cv-11611

SUNO, INC. and JOHN DOES 1-10,

Defendants.

DECLARATION OF MOEZ M. KABA

I, Moez M. Kaba, pursuant to Local Rule 83.5.3(e)(3), hereby declare and certify the
following:

1. I am a partner at the law firm of Hueston Hennigan LLP, 1 Little West 12th Street,
New York, NY 10014, and my office phone number is (646) 930-4046.

2. I am admitted to practice law in the states of New York and California. I am also
admitted to practice before the United States District Courts for the Central District of California,
Northern District of California, Southern District of California, Central District of Illinois, and
Southern District of New York, as well as the United States Courts of Appeals for Second,
Fourth, Ninth, Tenth, and Eleventh Circuits, and the United States Supreme Court.

3. I am a member in good standing in every jurisdiction in which I have been

admitted to practice law.
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4, I am not, nor have I ever been, subject to any disciplinary proceedings in any
jurisdiction in which I have been admitted to practice law. I am not under suspension or
disbarment by any court.

a, I have not previously had a pro hac vice admission to this court (or other
admission for a limited purpose) revoked for misconduct.

6. I have read and agree to comply with the Local Rules of the United States District
Court for the District of Massachusetts.

I declare under penalty of perjury that the foregoing is true and correct.

i /

Dated: June 24, 2024 Moez M. Kaba

